   Case 1:03-md-01570-GBD-SN                   Document 10253        Filed 08/19/24   Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------x

IN RE TERRORIST ATTACKS ON                                        Civil Action No.
SEPTEMBER 11, 2001                                                03 MDL 1570

---------------------------------------------------------x

This document relates to:
       Burnett, et al. v. Islamic Republic of Iran, et al., Case No. 15-cv-9903 (GBD)(SN)
       Arias, et al. v. The Islamic Republic of Iran, et al., 19-cv-00041(GBD)(SN)
       Prior, et al. v. The Islamic Republic of Iran, et al., 19-cv-00044(GBD)(SN)

                                           [PROPOSED] ORDER

        Upon consideration of Plaintiffs’ motion to permit the substitution of parties arising from

the death of certain plaintiffs; it is hereby

        ORDERED that the Plaintiffs’ motion is granted, and the individuals included on Exhibit

A are to be substituted into the above-captioned cases.

        Furthermore, the Court respectfully directs the Clerk of the Court to terminate the motion

at ECF No. 10252 in 03-MDL-1570 (GBD)(SN); ECF No. 821 in 15-cv-9903 (GBD)(SN); ECF

No. 186 in 19-cv-41 (GBD)(SN); and ECF No. 167 in 19-cv-44 (GBD)(SN).

SO ORDERED.

                                                             ____________________________________
August ___, 2024                                             SARAH NETBURN
New York, New York                                           United States Magistrate Judge
